Case 6:21-cv-00059-NKM-RSB Document 53 Filed 03/02/23 Page 1 of 2 Pageid#: 406


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION

 SHEA WHITEHURST,
                          Plaintiff
 v.
                                                    CIVIL ACTION NO. 6:21-CV-59
 LIBERTY UNIVERSITY, INC., and
 CHARLES TIPPETT
                  Defendants

                                STIPULATION OF DISMISSAL

         Pursuant to Rule 41(a)(1)(ii), the plaintiff stipulates that her claims against defendant

 Charles Tippett alleged in Counts V and VI of her Amended Complaint (ECF No. 45) be dismissed

 with prejudice, and Charles Tippett stipulates that his Counterclaim against plaintiff be dismissed

 with prejudice. Having been dismissed from this action, Charles Tippett’s counsel should no longer

 receive ECF notices.

 SHEA WHITEHURST
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 CHARLES TIPPETT
 By: /s/ John E. Falcone
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Case 6:21-cv-00059-NKM-RSB Document 53 Filed 03/02/23 Page 2 of 2 Pageid#: 407


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 Counsel for Defendant Liberty University, Inc.


                                     CERTIFICATE


        I hereby certify that on this 2nd day of March, 2023 I electronically filed the foregoing

 Stipulation of Dismissal with the Clerk of the Court using the CM/ECF system, which will serve

 all counsel via e-mail.

                                                    __/s/ John E. Falcone____________

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